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10
11                        UNITED STATES DISTRICT COURT
12
                                          – SOUTHERN DIVISION
           CENTRAL DISTRICT OF CALIFORNIA —
13
     GREAT AMERICAN ALLIANCE                      CASE NO. 8:19-cv-1029
14   INSURANCE COMPANY,
                                                 COMPLAINT FOR
15                             Plaintiff,        DECLARATORY RELIEF
16                vs.
                  vs.
17
18   SOIGNEE BOTANICALS INC.,
19                             Defendant.
20
21           Plaintiff Great American Alliance Insurance Company ("Great
                                                                 (“Great American")
                                                                         American”)
22   hereby makes its Complaint for Declaratory Relief against Defendant Soignee
23                   (“Soignee”) and alleges as follows:
     Botanicals Inc. ("Soignee")
24                                    INTRODUCTION
25           1.   Great American brings this action for declarations that it has no duty to
26   defend or indemnify Soignee pursuant to Commercial General Liability Policy No.
27   PL 1744248 D2844, issued by Great American to All Members of the Beauty
28   Health & Trade Alliance Risk Purchasing Group ("Alliance"),
                                                   (“Alliance”), effective from 9/1/17


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 1             (“Policy”), for the action entitled Manna v. Soignee Botanicals, LLC,
     to 9/1/19 ("Policy"),
 2   Soignee Botanicals, Inc., Jeunesse, LLC, Court of Common Pleas, Philadelphia
 3   County, State of Pennsylvania, Case No. 190202359 ("Underlying
                                                       (“Underlying Action").
                                                                    Action”).
 4                                      THE PARTIES
 5           2.     Great American is now and was at all relevant times a corporation
 6   formed under the laws of the State of Ohio, with its principal place of business in
 7   Cincinnati, Ohio. At all times mentioned in this Complaint, Great American has
 8 been authorized to do business in the State of California.
 9           3.
             3.     Soignee is a company incorporated in California with its principal
10   place of business in Anaheim, California.
11                             JURISDICTION AND VENUE
12           4.     This is an action for declaratory relief pursuant to 28 U.S.C. § 2201
13   and Federal Rules of Civil Procedure, Rule 57 to resolve an actual controversy
14 between the parties as set forth herein. This Court has jurisdiction over this action
15 pursuant to 28 U.S.0
                  U.S.C § 1332, because there is complete diversity of citizenship
16 between Great American and Soignee and there is more than $75,000 in
17   controversy.
18           5.
             5.     Venue is proper pursuant to 28 U.S.C. § 1391(a). Venue is proper in
19   this Court pursuant to 28 U.S.C. § 1391(b), because this is a civil action in which
20   subject matter jurisdiction is founded only on diversity of citizenship and the action
21   is brought in a judicial district where Soignee was doing business in California at all
22   relevant times.
23                                       THE POLICY
24           6.
             6.     Soignee is a Certificate Holder on the Policy, effective from 10/16/17
25   to 10/16/18.
26           7.
             7.     The Policy contains Commercial General Liability Coverage Form
27 (Form CG 00 01 (Ed. 04 13)), which provides in pertinent part as follows:
28   ///


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1                      – COVERAGES
             SECTION I —
2                       – Bodily Injury and Property Damage Liability
             Coverage A —
3
             1.   Insuring Agreement
4
                  a.    We will pay those sums that the Insured becomes legally
 5                                                                 “bodily injury"
                        obligated to pay as damages because of "bodily     injury” or
 6                      “property damage"
                        "property  damage” to which this insurance applies. We
                        will have the right and duty to defend the Insured against
 7                          “suit” seeking those damages. However, we will have
                        any "suit"
 8                                                                    “suit” seeking
                        no duty to defend the Insured against any "suit"
                                       “bodily injury"
                        damages for "bodily                “property damage"
                                               injury” or "property     damage” to
 9                      which this insurance does not apply. . . .
10
                                             ** ** **
11
                  b.                              “bodily injury"
                        This insurance applies to "bodily             “property
                                                          injury” and "property
12                      damage” only if:
                        damage"
13
                        (1)         “bodily injury"
                               the "bodily               “property damage"
                                              injury” or "property damage” is caused
14                                    “occurrence” that takes place in the "coverage
                               by an "occurrence"                          “coverage
15
                               territory”; . . . .
                               territory";

16                                           ** ** **
17           2.   Exclusions
18                This insurance does not apply to:
19
                  a.    Expected or Intended Injury
20
                        “Bodily injury"
                        "Bodily                “property damage"
                                  injury” or "property     damage” expected or
21                      intended from the standpoint of the Insured. . . .
22
                                             ** ** **
23
                  o.    Personal and Advertising Injury
24
25                      “Bodily injury"
                        "Bodily                         “personal and advertising
                                 injury” arising out of "personal
                        injury.”
                        injury."
26
                                             ** ** **
27
28                      – Personal and Advertising Injury Liability
             Coverage B —


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1            1.    Insuring Agreement
2                  a.    We will pay those sums that the Insured becomes legally
3                                                                    “personal and
                         obligated to pay as damages because of "personal
                                      injury” to which this insurance applies. We
                         advertising injury"
4                        will have the right and duty to defend the Insured against
 5                            “suit” seeking those damages. However, we will have
                         any "suit"
                                                                     “suit” seeking
                         no duty to defend the Insured against any "suit"
 6                                      “personal and advertising injury"
                         damages for "personal                    injury” to which
 7                       this insurance does not apply. . . .
 8                                            ** ** **
 9           2.    Exclusions
10
                   This insurance does not apply to:
11
                   a.    Knowing Violation of Rights of Another
12
                         “Personal and advertising injury"
                         "Personal                    injury” caused by or at the
13
                         direction of the Insured with the knowledge that the act
14                       would violate the rights of another and would inflict
15
                         “personal and advertising injury."
                         "personal                 injury.”

16                 b.    Material Published with Knowledge of Falsity
17                       “Personal and advertising injury"
                         "Personal                   injury” arising out of oral or
18                       written publication, in any manner, of material, if done by
                         or at the direction of the Insured with knowledge of its
19                       falsity.
20                                            ** ** **
21
                       – DEFINITIONS
             SECTION V —
22
                                              ** ** **
23
24           3.    “Bodily injury"
                   "Bodily   injury” means bodily injury, sickness or disease
                   sustained by a person, including death resulting from any of these
25                 at any time.
26                                            ** ** **
27
             14.   “Personal and advertising injury"
                   "Personal                      injury” means injury, including
28                               “bodily injury,”
                   consequential "bodily injury," arising out of one or more of the

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1                  following offenses:
2                  a.    false arrest, detention or imprisonment;
3
                   b.    malicious prosecution;
4
                   c.
                   c.    the wrongful eviction from, wrongful entry into, or
 5                       invasion of the right of private occupancy of a room,
 6                       dwelling or premises that a person occupies, committed by
                         or on behalf of its owner, landlord or lessor;
 7
                   d.    oral or written publication, in any manner, of material that
 8
                         slanders or libels a person or organization or disparages a
 9                       person’s or organization’s
                         person's    organization's goods, products or services;
10                 e.
                   e.    oral or written publication, in any manner, of material that
11                       violates a person's
                                    person’s right of privacy;
12                 f.    the use of another's
                                         another’s       advertising   idea   in   your
                         “advertisement”; or
                         "advertisement";
13
14                 g.
                   g.    infringing upon another's
                                          another’s copyright, trade dress or slogan
                                 “advertisement”.
                         in your "advertisement".
15
16
                                              ** ** **

17           20.   “Property damage”
                   "Property damage" means:
18                 a.    physical injury to tangible property, including all resulting
19                       loss of use of that property. All such loss of use shall be
                         deemed to occur at the time of the physical injury that
20                       caused it; or
21                 b.    loss of use of tangible property that is not physically
22                       injured. All such loss of use shall be deemed to occur at
                                     “occurrence” that caused it.
                         the time of "occurrence"
23
24           8.                            “Additional Insured —
                   The Policy contains the "Additional         – Designated Person or
25   Organization" Endorsement [Form CG 20 26 (Ed. 04 13)], which provides:
     Organization”
26           Name of Additional Insured Person(s) or Organization(s):
27           Per individual Certificate of Coverage.
28
                                              ** *
                                                 * **

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1            A.   SECTION II —  – WHO IS AN INSURED is amended to include
                  as an Additional Insured the person(s) or organization(s) shown
2
                                                                            “bodily
                  in the Schedule, but only with respect to liability for "bodily
3                 injury," “property damage"
                  injury,” "property              “personal and advertising injury"
                                     damage” or "personal                    injury”
                  caused, in whole or in part, by your acts or omissions or the acts
4
                  or omissions of those acting on your behalf:
 5
                  1.
                  1.    in the performance of your ongoing operations; or
 6
                  2.    in connection with your premises owned by or rented to
 7
                        you.
 8
                  However:
 9
                  1.
                  1.    the insurance afforded to such additional insured only
10
                        applies to the extent permitted by law; and
11
                  2.    if coverage provided to the Additional Insured is required
12                      by a contract or agreement, the insurance afforded to such
13                      additional insured will not be broader than that which you
                        are required by the contract or agreement to provide for
14                      such additional insured.
15
16           9.                           “Exclusion Of Claims And Suits Alleging
                  The Policy contains the "Exclusion
17   Infringement Of Intellectual Property Or Unfair Competition"
                                                     Competition” Endorsement [Form
18                         (“Endorsement”), which excludes coverage for claims
     CG 90 29 (Ed. 05/16)] ("Endorsement"),
19            “personal and
     alleging "personal and advertising injury,” replacing
                            advertising injury," replacing the intellectual property
20                                                     (“Coverage B
     exclusion in the Coverage Form to read as follows ("Coverage B—– IP
                                                                      IP Exclusion”):
                                                                         Exclusion"):
21           A.   COMMERCIAL GENERAL LIABILITY COVERAGE
                  FORM, Coverage B —       – Personal and Advertising Injury
22
                  Liability, 2. Exclusions, i. Infringement of Copyright, Patent,
23                Trademark or Trade Secret, is deleted and replaced by the
                  following:
24
25                i.    Claim or Suit Alleging Infringement of Intellectual
                        Property
26
                        (1)                    “suit” that alleges "personal
                              Any claim or "suit"                    “personal and
27
                                          injury” arising out of any actual, alleged,
                              advertising injury"
28                            or threatened misappropriation, infringement, or


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 1                             violation of any intellectual property or intellectual
                               property right or law of any description, including
 2
                               but not limited to any of the following:
 3
                               (a)   copyright;
 4
                               (b)   patent;
 5
 6                             (c)   trademark;
 7                             (d)   trade name;
 8                             (e)   trade secret;
 9
                               (f)   trade dress;
10
                               (g)   service mark;
11
                               (h)   slogan;
12
13                             (i)
                               (0    service name;
14                             (j)   description of origin, source, authorship,
                                     authenticity, or quality;
15
16                             (k)   other right to or law recognizing an interest in
                                     any expression, idea, likeness, name, style of
17                                   doing business, symbol, or title; or
18
                               (1)
                               (l)   Any other intellectual property right or law.
19
                        This exclusion applies to our duty to defend and our duty
20                      to pay damages whether such misappropriation,
21                      infringement, or violation is committed in your
                        “advertisement” or otherwise.
                        "advertisement"
22
23           10.                                                              “personal
                   The Endorsement also excludes coverage for claims alleging "personal
24   and advertising
     and advertising injury"
                     injury” arising
                             arising out
                                     out of
                                         of alleged violations of intellectual property
                                            alleged violations
25   rights or unfair competition as well as all other claims brought in the same action
   (“Coverage B
26 ("Coverage B—– IP/Unfair
                  IP/Unfair Competition Exclusion”) as
                            Competition Exclusion") as follows:
                                                       follows:
27           B.    The following exclusion is added to COMMERCIAL
                   GENERAL LIABILITY COVERAGE FORM, SECTION I -
28
                   COVERAGES, Coverage B —    – Personal and Advertising

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 1                 Injury Liability, 2. Exclusions:
 2                 Claim or Suit Alleging Violation of Laws Concerning Unfair
 3                 Competition or Similar Laws
 4                 1.
                   1.                   “suit” that alleges "personal
                         Any claim or "suit"                “personal and advertising
                         injury” arising out of any actual, alleged, or threatened
                         injury"
 5
                         violation of any statutes, common law, or other laws or
 6                       regulations concerning unfair competition, antitrust,
                         restraint of trade, piracy, unfair trade practices, or any
 7
                         similar laws or regulations.
 8
                   2.         “personal and advertising injury"
                         Any "personal                  injury” alleged in a claim or
 9                       “suit” that also alleges any actual, alleged, or threatened
                         "suit"
10                       violation of any statutes, common law, or other laws or
                         regulations concerning unfair competition, antitrust,
11                       restraint of trade, piracy, unfair trade practices, or any
12                       similar laws or regulations.
13                 This exclusion applies to our duty to defend and our duty to pay
14                 damages whether such misappropriation, infringement, or
                                                  “advertisement” or otherwise.
                   violation is committed in your "advertisement"
15
16           11.   The Endorsement further excludes coverage for claims alleging
   “property damage"
17 "property damage” or “bodily injury"
                     or "bodily injury” in a suit which also alleges violations of
18   intellectual property
     intellectual property rights
                           rights or unfair competition
                                  or unfair             (“Coverage A
                                            competition ("Coverage A —
                                                                     – IP/Unfair
19   Competition Exclusion”) as
     Competition Exclusion") as follows:
                                follows:
20           C.    The following exclusion is added to COMMERCIAL
                   GENERAL LIABILITY COVERAGE FORM, SECTION I -
21
                   COVERAGES, Coverage A —       – Bodily Injury and Property
22                 Damage Liability, 2. Exclusions:
23                 Claim or Suit Alleging Infringement of Intellectual Property
24                 or Violation of Laws Concerning Unfair Competition or
                   Similar Laws
25
                        “bodily injury"
                   Any "bodily               “property damage"
                                  injury” or "property damage” alleged in any claim
26
                      “suit” that also alleges any:
                   or "suit"
27
                   1.    misappropriation, infringement or violation of any
28                       intellectual property or intellectual property right or law

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 1                      described in paragraph (1) of COMMERCIAL
                        GENERAL LIABILITY COVERAGE FORM,
 2
                        SECTION I —   – COVERAGES, Coverage B —      – Personal
 3                      and Advertising Injury, 2. Exclusions, i. Claim or Suit
                        Alleging Infringement of Intellectual Property; or
 4
 5                 2.   violation of any statute, common law, or other laws or
                        regulations described in COMMERCIAL GENERAL
 6                      LIABILITY COVERAGE FORM, SECTION I —                  –
 7                      COVERAGES, Coverage B —      – Personal and Advertising
                        Injury, 2. Exclusions, Claim or Suit Alleging Violation
 8                      of Laws Concerning Unfair Competition or Similar
 9                      Laws.
10                                      THE CLAIM
11           12.
             12.   On February 23, 2019, the Underlying Action was filed, naming
12   Soignee as a defendant. A true and correct copy of the Complaint in the Underlying
13          (“Complaint”) is
     Action ("Complaint") is attached
                             attached as
                                      as Exhibit “A” hereto.
                                         Exhibit "A" hereto.
14           13.
             13.   The Complaint
                   The Complaint alleges
                                 alleges that
                                         that Suhad Manna ("Manna")
                                              Suhad Manna (“Manna”) served
                                                                    served as
                                                                           as aa
15 salesperson and distributor for Jeunesse, LLC through which she earned a
16   commission for advertising and giving product referrals by posting videos of herself
17                                                     (Exh. "A"
     on the internet using and promoting the products. (Exh. “A” ¶¶
                                                                 ¶¶ 5-6.) Manna
18   alleges that, on or about February 24, 2018, Soignee or other defendants in the
19   Underlying Action obtained a video of Manna using the products and imprinted
20                                                  without Manna's
     their name and/or logo on the video to publish without Manna’s knowledge
                                                                    knowledge or
                                                                              or
21                  “A” ¶
     consent. (Exh. "A"                          defendants’ video
                        ¶ 7.) Manna contends the defendants' video "is
                                                                   “is false and
22               by implying
     defamatory” by
     defamatory"    implying she
                             she endorses a product she did not. (Exh. "A"
                                                                       “A” ¶
                                                                           ¶ 11.) She
23   alleges that the video placed her in a false light, in a manner, which would be highly
24                                           “A” ¶
     offensive to a reasonable person. (Exh. "A" ¶ 19.) Manna further alleges that the
25   defendants "intentionally
     defendants “intentionally engaged
                               engaged in unfair methods of competition with [Manna]
   by misappropriating
26 by misappropriating and
                       and using
                           using [Manna's]
                                 [Manna’s] name,
                                           name, image
                                                 image and/or
                                                       and/or likeness
                                                              likeness for their own
                                                                       for their own
   purposes and
27 purposes and interfering
                interfering with
                            with [Manna's]
                                 [Manna’s] prospective
                                           prospective and
                                                       and existing business
                                                           existing business
28   relations.” (Exh.
     relations." (Exh. "A"
                       “A” ¶
                           ¶ 47.) Manna contends the defendants acted with actual

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 1                        the video
     malice in publishing the video or
                                    or allowed
                                       allowed the
                                               the same
                                                   same "with
                                                        “with reckless or negligent
 2   disregard as
     disregard    to the
               as to the truth
                         truth or
                               or falsity
                                  falsity of said video."
                                          of said video.” (Exh.
                                                          (Exh. "A"
                                                                “A” ¶¶ 25, 34.) The
 3   Complaint contends the video has caused her economic harm, including reduction
 4                                                                                 “A”
     in her business and damage to her professional and personal reputation. (Exh. "A"
 5   ¶¶It 14, 19.) The Complaint further alleges Manna has suffered from embarrassment,
                                                               “A” ¶
 6 personal humiliation, and general emotional distress. (Exh. "A" ¶ 20.)
 7           14.
             14.   Manna brought causes of action against Soignee for (1) defamation;
 8   (2) false light invasion of privacy; (3) unauthorized use of image, name, and/or
 9   likeness; (4) unfair competition; (5) intentional interference with prospective
10   economic advantages; and (6) unfair trade practices and consumer protection law.
11   The Complaint seeks injunctive relief, compensatory damages, attorneys'
                                            compensatory damages, attorneys’ fees,
                                                                             fees, and
                                                                                   and
12                           “A” Prayer for Relief.)
     punitive damages. (Exh. "A"
13           15.
             15.   On March 21, 2019, Soignee tendered the Underlying Action to Great
14   American for defense.
15           16.
             16.   On April 1, 2019, Great American denied Soignee’s
                                                           Soignee's claim for defense
16   and indemnity in the Underlying Action pursuant to the terms and conditions set
17   forth in the Policy.
18                              FIRST CAUSE OF ACTION
19                    (For Declaratory Relief Re: No Duty to Defend)
20           17.
             17.   Great American hereby incorporates and re-alleges the allegations in
21   each of the foregoing paragraphs as if fully set forth herein.
22           18.
             18.   There exists a genuine and bona fide dispute and an actual controversy
23   and disagreement between Great American and Soignee regarding whether Great
24   American has a duty to defend Soignee in connection with the Underlying Action.
25           19.
             19.   Upon information and belief, Soignee contends that Great American
26   has a duty to defend Soignee in connection with the Underlying Action under the
27   Policy.
28   ///


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 1           20.   Great American contends it has no duty to defend Soignee in the
 2   Underlying Action under the Policy.
 3           21.   In accordance with the insuring agreements, provisions, terms,
 4   conditions, exclusions, and endorsements of the Policy, Great American has no duty
 5 to defend Soignee in the Underlying Action under the Policy or applicable law, in
 6 whole or in part, for the following reasons:
 7                 a.
                   a.   To the
                        To the extent the Underlying
                               extent the Underlying Action
                                                     Action alleges “personal and
                                                            alleges "personal and
 8                      advertising injury,”
                        advertising          the Coverage B —
                                    injury," the            – IP Exclusion excludes
 9                      coverage as the claim arises out of alleged violations of
10                      intellectual property rights;
11                 b.   To the
                        To the extent the Underlying
                               extent the Underlying Action
                                                     Action alleges “personal and
                                                            alleges "personal and
12                      advertising injury,"
                        advertising injury,” the
                                             the Coverage B —
                                                            – IP/Unfair Competition
13                      Exclusion excludes coverage for any claim arising out of
14                      allegations of unfair competition;
15                 c.
                   c.   To the
                        To the extent the Underlying
                               extent the Underlying Action
                                                     Action alleges “personal and
                                                            alleges "personal and
16                      advertising injury,"
                        advertising injury,” the
                                             the Coverage B —
                                                            – IP/Unfair Competition
17                      Exclusion excludes coverage for any claim brought in the same
18                      lawsuit as a claim arising out of alleged violations of intellectual
19                      property rights or unfair competition;
20                 d.   To the
                        To the extent the Underlying
                               extent the Underlying Action
                                                     Action alleges “personal and
                                                            alleges "personal and
21                      advertising injury,"
                        advertising injury,” the
                                             the "Knowing
                                                 “Knowing Violation
                                                          Violation of
                                                                    of Rights
                                                                       Rights of
                                                                              of
22                      Another” exclusion
                        Another"                                         “caused by
                                 exclusion excludes coverage for damages "caused
23                      or at the direction of the Insured with the knowledge that the act
24                      would violate the rights of another and would inflict ‘personal
                                                                              'personal
25                      and advertising
                        and advertising injury";
                                        injury’”;
26                 e.
                   e.   To the
                        To the extent the Underlying
                               extent the Underlying Action
                                                     Action alleges “personal and
                                                            alleges "personal and
27                      advertising injury,"
                        advertising injury,” the
                                             the "Material
                                                 “Material Published with Knowledge of
28                      Falsity” exclusion
                        Falsity"                                         “arising out
                                 exclusion excludes coverage for damages "arising


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 1                      of oral or written publication, in any manner, of material, if done
 2                      by or at the direction of the Insured with knowledge of its
 3                      falsity”;
                        falsity";
 4                 f.
                   f.          Underlying Action
                        As the Underlying Action does
                                                 does not
                                                      not allege “property damage"
                                                          allege "property damage” or
                                                                                   or
 5                      “bodily injury”
                        "bodily injury" caused by an
                                        caused by    “occurrence,” the
                                                  an "occurrence," the Policy’s
                                                                       Policy's
 6                                 – Bodily Injury and Property Damage Liability
                        Coverage A —
 7                      Insuring Agreement is not satisfied;
 8                 g.   To the
                        To the extent the Underlying
                               extent the Underlying Action
                                                     Action alleges “property damage"
                                                            alleges "property damage”
 9                      or “bodily injury,"
                        or "bodily injury,” the
                                            the Coverage A —
                                                           – IP/Unfair Competition
10                      Exclusion excludes coverage for any claim brought in the same
11                      lawsuit as a claim arising out of alleged violations of intellectual
12                      property rights or unfair competition;
13                 h.   To the
                        To the extent the Underlying
                               extent the Underlying Action
                                                     Action alleges “property damage"
                                                            alleges "property damage”
14                      or “bodily injury,"
                        or "bodily injury,” the
                                            the "Expected
                                                “Expected or
                                                          or Intended Injury” exclusion
                                                             Intended Injury" exclusion
15                                                    “expected or intended from the
                        excludes coverage for damages "expected
16                                        Insured”;
                        standpoint of the Insured";
17                 i.   To the
                        To the extent the Underlying
                               extent the Underlying Action
                                                     Action alleges
                                                            alleges "bodily
                                                                    “bodily injury,"
                                                                            injury,” the
18                      “Personal and
                        "Personal and Advertising
                                      Advertising Injury"
                                                  Injury” exclusion
                                                          exclusion excludes coverage
19                      for damages arising
                                    arising out
                                            out of “personal and
                                                of "personal and advertising
                                                                 advertising injury";
                                                                             injury”;
20                      and
21                 j.   The Underlying Action, in part, does not seek recovery of
22                      “damages” from
                        "damages"      an insured
                                  from an insured under
                                                  under the
                                                        the Policy.
                                                            Policy.
23           22.   Great American also relies upon all additional terms, definitions,
24   exclusions, conditions, and endorsements in the Policy not specifically identified
25   herein that potentially limit or preclude its duty to defend Soignee under the Policy
26   for the Underlying Action.
27           23.   Great American seeks a declaration from this Court that Great
28   American has no duty to defend Soignee in the Underlying Action under the Policy.


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 1                               SECOND CAUSE OF ACTION
 2                      (For Declaratory Relief Re: No Duty to Indemnify)
 3           24.   Great American hereby incorporates and re-alleges the allegations in
 4   each of the foregoing paragraphs as if fully set forth herein.
 5           25.   There exists a genuine and bona fide dispute and an actual controversy
 6   and disagreement between Great American and Soignee regarding whether Great
 7 American has a duty to indemnify Soignee in connection with the Underlying
 8   Action.
 9           26.   Upon information and belief, Soignee contends that Great American
10   has a duty to indemnify Soignee under the Policy should Soignee be found liable in
11   the Underlying Action.
12           27.   Great American contends it has no duty to indemnify Soignee should
13   Soignee be found liable in the Underlying Action.
14           28.   In accordance with the insuring agreements, provisions, terms,
15   conditions, exclusions, and endorsements of the Policy, Great American has no duty
16 to indemnify Soignee in the Underlying Action under the Policy or applicable law,
17   in whole or in part, for the following reasons:
18                 a.
                   a.      To the
                           To the extent the Underlying
                                  extent the Underlying Action
                                                        Action alleges “personal and
                                                               alleges "personal and
19                         advertising injury,”
                           advertising          the Coverage B —
                                       injury," the            – IP Exclusion excludes
20                         coverage as the claim arises out of alleged violations of
21                         intellectual property rights;
22                 b.      To the
                           To the extent the Underlying
                                  extent the Underlying Action
                                                        Action alleges “personal and
                                                               alleges "personal and
23                         advertising injury,"
                           advertising injury,” the
                                                the Coverage B —
                                                               – IP/Unfair Competition
24                         Exclusion excludes coverage for any claim arising out of
25                         allegations of unfair competition;
26                 c.
                   c.                                                  “personal and
                           To the extent the Underlying Action alleges "personal and
27                         advertising injury,"
                           advertising injury,” the
                                                the Coverage B —
                                                               – IP/Unfair Competition
28                         Exclusion excludes coverage for any claim brought in the same


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 1                     lawsuit as a claim arising out of alleged violations of intellectual
 2                     property rights or unfair competition;
 3                d.   To the extent the Underlying
                              extent the Underlying Action
                                                    Action alleges “personal and
                                                           alleges "personal and
 4                     advertising injury,"
                       advertising injury,” the
                                            the "Knowing
                                                “Knowing Violation
                                                         Violation of
                                                                   of Rights
                                                                      Rights of
                                                                             of
 5                     Another” exclusion
                       Another" exclusion excludes
                                          excludes coverage
                                                   coverage for         “caused by
                                                            for damages "caused
 6                     or at the direction of the Insured with the knowledge that the act
 7                     would violate the rights of another and would inflict ‘personal
                                                                             'personal
 8                     and advertising
                       and advertising injury";
                                       injury’”;
 9                e.
                  e.   To the
                       To the extent the Underlying
                              extent the Underlying Action
                                                    Action alleges “personal and
                                                           alleges "personal and
10                     advertising injury,"
                       advertising injury,” the
                                            the "Material
                                                “Material Published with Knowledge of
11                     Falsity” exclusion
                       Falsity" exclusion excludes
                                          excludes coverage
                                                   coverage for         “arising out
                                                            for damages "arising
12                     of oral or written publication, in any manner, of material, if done
13                     by or at the direction of the Insured with knowledge of its
14                     falsity”;
                       falsity";
15                f.
                  f.   As the
                       As the Underlying
                              Underlying Action
                                         Action does
                                                does not
                                                     not allege
                                                         allege "property
                                                                “property damage"
                                                                          damage” or
                                                                                  or
16                     “bodily injury”
                       "bodily injury" caused by an
                                       caused by    “occurrence,” the
                                                 an "occurrence," the Policy's
                                                                      Policy’s
17                                – Bodily Injury and Property Damage Liability
                       Coverage A —
18                     Insuring Agreement is not satisfied;
19                g.   To the
                       To the extent the Underlying
                              extent the Underlying Action
                                                    Action alleges “property damage"
                                                           alleges "property damage”
20                     or “bodily injury,"
                       or "bodily injury,” the
                                           the Coverage A —
                                                          – IP/Unfair Competition
21                     Exclusion excludes coverage for any claim brought in the same
22                     lawsuit as a claim arising out of alleged violations of intellectual
23                     property rights or unfair competition;
24                h.   To the
                       To the extent the Underlying
                              extent the Underlying Action
                                                    Action alleges “property damage"
                                                           alleges "property damage”
25                     or “bodily injury,"
                       or "bodily injury,” the
                                           the "Expected
                                               “Expected or
                                                         or Intended Injury” exclusion
                                                            Intended Injury" exclusion
26                                                   “expected or intended from the
                       excludes coverage for damages "expected
27                                       Insured”;
                       standpoint of the Insured";
28   ///


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 1                 i.    To the
                         To the extent the Underlying
                                extent the Underlying Action
                                                      Action alleges
                                                             alleges "bodily
                                                                     “bodily injury,"
                                                                             injury,” the
                                                                                      the
 2                       “Personal and
                         "Personal and Advertising
                                       Advertising Injury"
                                                   Injury” exclusion
                                                           exclusion excludes coverage
 3                       for damages arising
                                     arising out
                                             out of “personal and
                                                 of "personal and advertising
                                                                  advertising injury";
                                                                              injury”;
 4                       and
 5                 j.    The Underlying Action, in part, does not seek recovery of
 6                       “damages” from
                         "damages"      an insured
                                   from an insured under
                                                   under the
                                                         the Policy.
                                                             Policy.
 7           29.   Great American also relies upon all additional terms, definitions,
 8   exclusions, conditions, and endorsements in the Policy not specifically identified
 9   herein that potentially limit or preclude coverage for the duty to indemnify Soignee
10   under the Policy for the Underlying Action.
11           30.   Great American seeks a declaration from this Court that Great
12   American has no duty to indemnify Soignee in the Underlying Action pursuant to
13   the Policy.
14                                          PRAYER
15           WHEREFORE, Great American prays for judgment against Soignee as
16   follows:
17           1.
             1.    That the Court determine, decree, and adjudge that Great American is
18                 entitled to a declaration that it has no duty to defend Soignee in the
19                 Underlying Action under the Policy;
20           2.    That the Court determine, decree, and adjudge that Great American is
21                 entitled to a declaration that it has no duty to indemnify Soignee in the
22                 Underlying Action under the Policy;
23           3.
             3.    For attorneys'
                       attorneys’ fees and costs;
24           4.    For costs of suit incurred herein; and
25   ///
26   ///
27   ///
28   ///


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 1           5.   For such other and further relief as the Court deems fit and proper
 2                under the circumstances and evidence.
 3
     Dated: May 29, 2019               WILSON ELSER MOSKOWITZ EDELMAN &
 4
                                       DICKER LLP
 5
 6                                         /s/ Shannon L. Santos
                                       By: /s/
 7                                         David Simantob
                                           Linda T. Hoshide
 8                                         Shannon L. Santos
 9                                         Attorneys for Plaintiff Great American
                                           Alliance Insurance Company
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